Case: 2:21-cv-00072-DLB-CJS Doc #: 28-8 Filed: 11/30/22 Page: 1 of 1 - Page ID#: 112




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                           NORTHERN DIVISION AT COVINGTON
                              CASE NO. 2:21-CV-00072-JMH

 JEFFREY CUNDIFF                                                                  PLAINTIFF

 v.

 DOUGLAS ULLRICH, et al.                                                       DEFENDANTS


                                           ORDER


        Upon Motion of the Defendant, Douglas Ullrich, in his individual capacity as a

 Covington, Kentucky Police Officer, and the Court being sufficiently advised and informed, IT

 IS HEREBY ORDERED that Defendant’s Motion for Summary Judgment (Doc. 28) be and is

 GRANTED as he is entitled to judgment as a matter of law.

                           SO ORDERED this _____ day of May, 2022



                                  HON. JOSEPH M. HOOD
                             Magistrate Judge, U.S. District Court
